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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

                                                   2:17-MD-2789 (CCC)(LDW)
    IN RE: PROTON-PUMP                                     (MDL 2789)
    INHIBITOR PRODUCTS                           and all member and related cases
    LIABILITY LITIGATION
                                                        Judge Claire C. Cecchi
    This Document relates to:

    Rieder v. AstraZeneca Pharmaceuticals LP,
    No. 2:19-cv-00850


                     CASE MANAGEMENT ORDER NO. 106
                (Amended Bellwether Trial Scheduling Order - Rieder)

          In recognition of continuing pretrial proceedings, and in the interests of

   justice, the trial schedule is amended as follows:

          1.     Trial Date. The trial for Rieder v. AstraZeneca Pharmaceuticals LP

   et al., No. 19-cv-850, previously scheduled to begin on October 10, 2023, is

   adjourned. A new trial date will be provided.

          2.     Proposed Joint Pretrial Orders. The August and September 2023

   deadlines for provision and submission of a proposed Joint Pretrial Order are

   adjourned. The parties will meet and confer on new, appropriate deadlines after a

   new trial date is set.

          3.     Schedule Regarding New Expert Report. The following deadlines

   previously established by the Court for deposition of, and briefing on, Defendants’
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   new expert report served on July 17, 2023 are adjourned. The parties will meet

   and confer on new, appropriate deadlines after a new trial date is set, including:

              • The deadline for deposition of new expert;

              • The deadline for any Daubert motion regarding new expert;

              • The deadline for opposition to Daubert motion regarding new expert;

                 and

              • The deadline for reply to opposition to Daubert motion regarding new

                 expert.

         4.      The September 14, 2023 deposition of AstraZeneca witness Magnus

   Ysander is adjourned. After a new trial date is set by the Court, the parties will

   meet and confer on a new date and re-notice the deposition at the appropriate time.

   IT IS SO ORDERED

   SIGNED this 14th day of September 2023.

                                                  s/ Claire C. Cecchi
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                                                 CLAIRE C. CECCHI
                                                 United States District Judge
